             Case 4:06-cr-40033-JPG                      Document 99      Filed 03/08/07           Page 1 of 6                        Page ID #265
-A0   2458    (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1




                       SOUTHERN                                   District o f                                   ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
                  RICHARD L. ALLSUP
                                                                         Case Number:           4:06CR40033-005-JPG

                                                                         USM Number: 07253-025
                                                                          Brian Trentman
                                                                         Defendant's Attorney
THE DEFENDANT:
&fpleaded guilty to count(s)         1 and 13 of the Indictment.
   pleaded nolo contendere to counys)
   which was accepted by the court.                                                                     cl.- , -4 '1
                                                                                                                , ,,..
                                                                                                                ,
                                                                                                                 ., :' ..;.>.:~~&;;:.
                                                                                                         .. ,        . ..            &.' C 0 i - l ~ ~
   was found guilty on count(s)                                                                                                        ..r.7
                                                                                                                          '           <j8.):.,.c     IS
   after a plea of not guilty.                                                                                  '-   ',       L.:-
                                                                                                                                               .-.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended


                                   Substance Containing Methamphetamine



       The defendant is sentenced as provided in pages 2 through             10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is      are dismissed on the motion of the United States,

          It 1s ordered that the defendant must notify the llnited States anorney for this distr~ctwithln 30 da s of any ~ h a nTe of name, res~dcnce,
or mailin address untilall fines, restttution, costs, and special assessments imposed by t h ~judgment
                                                                                                s         are fufiy pa~d.1;orkrcd to pay rcjtlrutlon,
the defengdant must not~fythe coun and Un~tedStates anorney of matenal changes 111 econo~luccircumstances.




                                                                          J. Phil Gilbert                                             District Judge
                                                                         Name of Judge                                               Title ofludge
              Case 4:06-cr-40033-JPG                   Document 99          Filed 03/08/07          Page 2 of 6          Page ID #266
A 0 2458      (Rev. 06105) Judgment in Criminal Case
              Sheet 2 -Imprisonment


DEFENDANT: RICHARD L. ALLSUP
                                                                                                         Judgment-Page
                                                                                                                          -
                                                                                                                          2      of     10

CASE NUMBER: 4:06CR40033-005-JPG


                                                               IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 120 months (120 months on Count 1 and 108 months on Count 13 of the Indictment. All Counts to run concurrent with each
 other.


     [a' The court makes the following recommendations to the Bureau of Prisons:
 That the defendant be placed in the Intensive Drug Treatment Program



         The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

     I$ The defendant shall sirrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
           I$ as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                            to

at                                                     , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY LJNITED STATES MARSHAL
              Case 4:06-cr-40033-JPG                     Document 99        Filed 03/08/07          Page 3 of 6            Page ID #267
A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page    3 of
DEFENDANT: RICHARD L. ALLSUP                                                                                                -                  10
CASE NUMBER: 4:06CR40033-005-JPG
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 5 years (5 years on Count 1 and 3 years on Count 13 of the Indictment). All Count to run concurrent with each other.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
d The defendant shall not possess a firearm, ammnnition, destructive device, or any other dangerous weapon. (Check, if applicable.)
$( The defendant shall cooperate in the collection of DNA as directed by the probation oflicer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o f l ~ a ~ m e nsheet
                           t s of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officee
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, d~stribute,or adnunlster an)
     controlled substance or any paraphernalia related to any controlled substances, chcept as prescr~hrdby a physlc~an:
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
     felony, unless granted permission to do so%y the proiation officer;
 10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
     contraband observed in plain view of the probation officer;
 11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court, and
 13) as directed by the robation officer, the defendant shall notify@ird parties of risks that may be occasioned by yhe defendant's criminal
     record or           history or charactenst~csand shall pernut the probat~onofficer to make such nohficatlons and to c o n h the
     defendant s compliance with such notification requirement.
           Case 4:06-cr-40033-JPG                   Document 99   Filed 03/08/07     Page 4 of 6            Page ID #268
A 0 245B   (Rev.06/05)Judgment in a Criminal Case
           Sheet 3 C Supervised Release


DEFENDANT: RICHARD L. ALLSUP
                                                                                            Judgment-Page
                                                                                                             -
                                                                                                             4 of          10

CASE NUMBER: 4:06CR40033-005-JPG

                                       SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Oifice. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
A 0 245B
            Case
           (Rev.     4:06-cr-40033-JPG
                 06101) Judgment in a Criminal Case   Document 99             Filed 03/08/07          Page 5 of 6        Page ID #269
           Sheet 5 - Cnmlnal Monetary Penalties
                                                                                                                         5 of             10
DEFENDANT: RICHARD L. ALLSUP
                                                                                                        Judgment-Page
                                                                                                                         -
CASE NUMBER: 4:06CR40033-005-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                       Assessment                                        -
                                                                         Fine                                   Restitution
TOTALS             $ 200.00                                            $ 200.00                               $ 0.00


     The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified othenuise in
     the priority order or percentage payment columnxelow. However, pursuant to 18
     before the United States is paid.
                                                                                                ~s.E.
                                                                                             8 3664{), all nonfederal v~ctimsmust he paid

Name of Pavee                                                                                    Restitution Ordered     PrioriW or Percentaee




TOTALS                                $                        0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @f the interest requirement is waived for the           @ fine           restitution.
           the interest requirement for the            fine           restitution is modified as follows:


* Findings for the total amount of losses are re uiredunder Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apnl23, 199%.
A 0 2458
            Case 4:06-cr-40033-JPG
           (Rev. 06105) Judgment in a Criminal Case
                                                      Document 99         Filed 03/08/07          Page 6 of 6         Page ID #270
           Sheet 6 - Schedule of Payments


DEFENDANT: RICHARD L. ALLSUP
                                                                                                        Judgment - Page
                                                                                                                          -
                                                                                                                          6        of       10




                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

                 not later than                                  , Or
                 in accordance                C,       D,         E, or         F below; or

 B         Payment to begin immediately (may be combined with              C,           D, or       F below); or

 C         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or
 D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant"^ ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            While on Supe~isedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment,r&ment of criminal moneta~ypenalties is due durin
Imprisonment. AII cnminar               penalhes, except Lose payments made throug       e Federal Bureau of Prisons' Inmate ~ i n a n c i j
Responsibility Program are s % % e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecut~onand court costs.
